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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

ANGELA LOCKRIDGE,                             )
                                              )
            Plaintiff,                        )
                                              )
      v.                                      )   CAUSE NO: 1:20-cv-1712-SEB-DML
                                              )
DERMATOLOGY ASSOCIATES OF                     )
INDIANA, P.C. and ANNETTE M.                  )
DINNEEN, M.D.,                                )
                                              )
            Defendants.                       )

                             CASE MANAGEMENT PLAN

I.    Parties and Representatives

      A.    Plaintiff:              Angela Lockridge

            Plaintiff’s Counsel:    John H. Haskin
                                    Natalie R. Dickey
                                    Shannon L. Melton
                                    JOHN H. HASKIN & ASSOCIATES LLC
                                    255 North Alabama Street, 2nd Floor
                                    Indianapolis, IN 46204
                                    Telephone:     (317) 955-9500
                                    Facsimile:     (317) 955-2570
                                    Email:         jhaskin@jhaskinlaw.com
                                                   ndickey@jhaskinlaw.com
                                                   smelton@jhaskinlaw.com

      B.    Defendants:             Dermatology Associates of Indiana, P.C.
                                    Annette M. Dinneen, M.D.

            Defendants’ Counsel: Lance W. Wonderlin
                                 LANCE W. WONDERLIN, P.C.
                                 9465 Counselor’s Row, Suite 200
                                 Indianapolis, IN 46240
                                 Telephone:     (317) 587-0291
                                 Facsimile:     (317) 587-0290
                                 Email:         lance@wonderlinlaw.com
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                           Counsel shall promptly file a notice with the Clerk if there is any change in this
                           information.

                   II.     Jurisdiction and Statement of Claims

                           A.     Jurisdiction is conferred on this Court by 28 U.S.C § 1331, 29 U.S.C. § 216(b),
                                  and 28 U.S.C. §1367 for the state law claims alleged.

                           B.     Plaintiff brought her claims against Defendant for violating her rights under the
                                  Fair Labor Standards Act and the Indiana Wage Claims Statute. Defendant failed
                                  to pay Plaintiff for those hours that she worked in excess of 40 hours per week.
                                  After making multiple complaints of not being paid overtime compensation
                                  Plaintiff was terminated. Plaintiff’s final paycheck was withheld in its entirety by
                                  Defendant without good cause.

                           C.     Defendants deny any violation of the FLSA or Indiana Wage Claims Statute, and
                                  contend that Plaintiff did not work in excess of Forty hours per week, did not
                                  complain about being compensated improperly, voluntarily left her employment,
                                  and received full payment of wages due.

                  III.     Pretrial Pleadings and Disclosures

                           A.     The parties shall serve their Fed. R. Civ. P. 26 initial disclosures on or before
                                  October 23, 2020.

                           B.     Plaintiff(s) shall file preliminary witness and exhibit lists on or before October
                                  30, 2020.

                           C.     Defendant(s) shall file preliminary witness and exhibit lists on or before
                                  November 6, 2020.

                           D.     All motions for leave to amend the pleadings and/or to join additional parties shall
                                  be filed on or before November 24, 2020.
.
Sec. III E. The parties
shall submit (not file)
                           E.     Plaintiff(s) shall serve Defendant(s) (but not file with the Court) a statement of
courtesy copies of their          special damages, if any, and make a settlement proposal, on or before
respective demand and
response at the time of
                                  November 24, 2020. Defendant(s) shall serve on the Plaintiff(s) (but not file with
service via email to              the Court) a response thereto within 30 days after receipt of the proposal. The
judgelynchchambers@i              parties shall submit (not file) courtesy copies of their respective demand and
nsd.uscourts.gov.
There is no need to               response at the time of service via email to
follow the email with a           judgelynchchambers@insd.uscourts.gov. There is no need to follow the email
hard copy.
                                  with a hard copy.

                           F.     Except where governed by paragraph (G) below, expert witness disclosure
                                  deadlines shall conform to the following schedule: Plaintiff(s) shall disclose the
                                  name, address, and vita of any expert witness, and shall serve the report required

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            by Fed. R. Civ. P. 26(a)(2) on or before June 24, 2021. Defendant(s) shall
            disclose the name, address, and vita of any expert witness, and shall serve the
            report required by Fed. R. Civ. P. 26(a)(2) on or before July 26, 2021; or if
            Plaintiff has disclosed no experts, Defendant(s) shall make its expert disclosure on
            or before July 26, 2021.

      G.    Notwithstanding the provisions of paragraph (F), above, if a party intends to use
            expert testimony in connection with a motion for summary judgment to be filed
            by that party, such expert disclosures must be served on opposing counsel no later
            than 90 days prior to the dispositive motion deadline. If such expert disclosures
            are served the parties shall confer within 7 days to stipulate to a date for
            responsive disclosures (if any) and completion of expert discovery necessary for
            efficient resolution of the anticipated motion for summary judgment. The parties
            shall make good faith efforts to avoid requesting enlargements of the dispositive
            motions deadline and related briefing deadlines. Any proposed modifications of
            the CMP deadlines or briefing schedule must be approved by the Court.

      H.    Any party who wishes to limit or preclude expert testimony at trial shall file any
            such objections on or before November 1, 2021. Any party who wishes to
            preclude expert witness testimony at the summary judgment stage shall file any
            such objections with their responsive brief within the briefing schedule
            established by S.D. Ind. L.R. 56-1.

      I.    All parties shall file and serve their final witness and exhibit lists on or before
            August 24, 2021. This list should reflect the specific potential witnesses the party
            may call at trial. It is not sufficient for a party to simply incorporate by reference
            “any witness listed in discovery” or such general statements. The list of final
            witnesses shall include a brief synopsis of the expected testimony.

      J.    Any party who believes that bifurcation of discovery and/or trial is appropriate
            with respect to any issue or claim shall notify the Court as soon as practicable.

      K.     Discovery of electronically stored information (“ESI”). The parties have
            discussed preservation and disclosure of electronically stored discovery
            information. Neither party believes it will seek the production of a substantial
            volume of ESI. The parties agree to produce hard copies of all requested
            electronic data when available, absent any privileges or objections which would
            preclude or protect such data from being disclosed. However, either party may
            request that ESI be produced in a different form if desired. The parties further
            agree to cooperate in good faith concerning the form in which ESI is to be
            produced when requested in a different format. The parties reserve the right to
            withhold any discovery documents/data based on a known privilege or objection.
            Any extraordinary costs for duplication shall be allocated to the requesting party.

            In the event that a document protected by the attorney-client privilege, the
            attorney work product doctrine or other applicable privilege or protection is

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                unintentionally produced by any party to this proceeding, the producing party may
                request that the document be returned. In the event that such a request is made,
                all parties to the litigation and their counsel shall promptly return all copies of the
                document in their possession, custody, or control to the producing party and shall
                not retain or make any copies of the document or any documents derived from
                such document. The producing party shall promptly identify the returned
                document on a privilege log. The unintentional disclosure of a privileged or
                otherwise protected document shall not constitute a waiver of the privilege or
                protection with respect to that document or any other documents involving the
                same or similar subject matter.

IV.     Discovery1 and Dispositive Motions

        Due to the time and expense involved in conducting expert witness depositions and other
        discovery, as well as preparing and resolving dispositive motions, the Court requires
        counsel to use the CMP as an opportunity to seriously explore whether this case is
        appropriate for such motions (specifically including motions for summary judgment),
        whether expert witnesses will be needed, and how long discovery should continue. To
        this end, counsel must select the track set forth below that they believe best suits this
        case. If the parties are unable to agree on a track, the parties must: (1) state this fact in
        the CMP where indicated below; (2) indicate which track each counsel believes is most
        appropriate; and (3) provide a brief statement supporting the reasons for the track each
        counsel believes is most appropriate. If the parties are unable to agree on a track, the
        Court will pick the track it finds most appropriate, based upon the contents of the CMP
        or, if necessary, after receiving additional input at an initial pretrial conference.

        A.      Does any party believe that this case may be appropriate for summary judgment
                or other dispositive motion? No.

        B.      On or before November 1, 2021 and consistent with the certification provisions
                of Fed. R. Civ. P. 11(b), the party with the burden of proof shall file a statement
                of the claims or defenses it intends to prove at trial, stating specifically the legal
                theories upon which the claims or defenses are based.

        C.      Select the track that best suits this case:




1
    The term “completed,” as used in Section IV.C, means that counsel must serve their discovery
    requests in sufficient time to receive responses before this deadline. Counsel may not serve
    discovery requests within the 30-day period before this deadline unless they seek leave of
    Court to serve a belated request and show good cause for the same. In such event, the
    proposed belated discovery request shall be filed with the motion, and the opposing party will
    receive it with service of the motion but need not respond to the same until such time as the
    Court grants the motion.
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                X Track 1: No dispositive motions are anticipated. All discovery shall be
              completed by October 25, 2021.

              Absent leave of Court, and for good cause shown, all issues raised on summary
              judgment under Fed. R. Civ. P. 56 must be raised by a party in a single motion.

V.     Pre-Trial/Settlement Conferences

       At any time, any party may call the Judge's Staff to request a conference, or the Court
       may sua sponte schedule a conference at any time. The presumptive time for a settlement
       conference is no later than 30 days before the close of non-expert discovery. The
       parties are encouraged to request an earlier date if they believe the assistance of the
       Magistrate Judge would be helpful in achieving settlement. The parties recommend
       a settlement conference in February 2021.

VI.    Trial Date

       The parties request a trial date in February 2022. The trial is by jury and is anticipated
       to take 3-4 days. Counsel should indicate here the reasons that a shorter or longer track
       is appropriate. While all dates herein must be initially scheduled to match the
       presumptive trial date, if the Court agrees that a different track is appropriate, the case
       management order approving the CMP plan will indicate the number of months by which
       all or certain deadlines will be extended to match the track approved by the Court.

VII.   Referral to Magistrate Judge

       A.     Case. At this time, all parties do not consent to refer this matter to the currently
              assigned Magistrate Judge pursuant to 28 U.S.C. 636(c) and Fed. R. Civ. P. 73 for
              all further proceedings including trial.

       B.     Motions. The parties may also consent to having the assigned Magistrate Judge
              rule on motions ordinarily handled by the District Judge, such as motions to
              dismiss, for summary judgment, or for remand. If all parties consent, they should
              file a joint stipulation to that effect. Partial consents are subject to the approval of
              the presiding district judge.

VIII. Required Pre-Trial Preparation

       A.     TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
              parties shall:

              1.      File a list of trial witnesses, by name, who are actually expected to be
                      called to testify at trial. This list may not include any witnesses not on a
                      party’s final witness list filed pursuant to Section III.I.



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            2.    Number in sequential order all exhibits, including graphs, charts and the
                  like, that will be used during the trial. Provide the Court with a list of
                  these exhibits, including a description of each exhibit and the identifying
                  designation. Make the original exhibits available for inspection by
                  opposing counsel. Stipulations as to the authenticity and admissibility of
                  exhibits are encouraged to the greatest extent possible.

            3.    Submit all stipulations of facts in writing to the Court. Stipulations are
                  always encouraged so that at trial, counsel can concentrate on relevant
                  contested facts.

            4.    A party who intends to offer any depositions into evidence during the
                  party's case in chief shall prepare and file with the Court and copy to all
                  opposing parties either:

                  a.      brief written summaries of the relevant facts in the depositions that
                          will be offered. (Because such a summary will be used in lieu of
                          the actual deposition testimony to eliminate time reading
                          depositions in a question and answer format, this is strongly
                          encouraged.); or

                  b.      if a summary is inappropriate, a document which lists the portions
                          of the deposition(s), including the specific page and line numbers,
                          that will be read, or, in the event of a video-taped deposition, the
                          portions of the deposition that will be played, designated
                          specifically by counter-numbers.

            5.    Provide all other parties and the Court with any trial briefs and motions in
                  limine, along with all proposed jury instructions, voir dire questions, and
                  areas of inquiry for voir dire (or, if the trial is to the Court, with proposed
                  findings of fact and conclusions of law).

            6.    Notify the Court and opposing counsel of the anticipated use of any
                  evidence presentation equipment.

      B.    ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
            parties shall:

            1.    Notify opposing counsel in writing of any objections to the proposed
                  exhibits. If the parties desire a ruling on the objection prior to trial, a
                  motion should be filed noting the objection and a description and
                  designation of the exhibit, the basis of the objection, and the legal
                  authorities supporting the objection.

            2.    If a party has an objection to the deposition summary or to a designated
                  portion of a deposition that will be offered at trial, or if a party intends to

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                   offer additional portions at trial in response to the opponent's designation,
                   and the parties desire a ruling on the objection prior to trial, the party shall
                   submit the objections and counter summaries or designations to the Court
                   in writing. Any objections shall be made in the same manner as for
                   proposed exhibits. However, in the case of objections to video-taped
                   depositions, the objections shall be brought to the Court's immediate
                   attention to allow adequate time for editing of the deposition prior to trial.

              3.   File objections to any motions in limine, proposed instructions, and voir
                   dire questions submitted by the opposing parties.

              4.   Notify the Court and opposing counsel of requests for separation of
                   witnesses at trial.


IX.   Other Matters

      None.


/s/ Shannon L. Melton                             /s/ Lance W. Wonderlin (with consent)
John H. Haskin                                    Lance W. Wonderlin
Natalie R. Dickey                                 LANCE W. WONDERLIN, P.C.
Shannon L. Melton                                 9465 Counselor’s Row, Suite 200
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Indianapolis, IN 46204                            Facsimile:     (317) 587-0290
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Facsimile:     (317) 955-2570
Email:         jhaskin@jhaskinlaw.com
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   Y               PARTIES APPEARED BY COUNSEL ON$XJXVW8, 
                   FORAN INITIALPRETRIAL CONFERENCE.
                   APPROVED AS SUBMITTED.

       Y           APPROVED AS AMENDED.

                   APPROVED AS AMENDED PER SEPARATE ORDER.

                   APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
                   SHORTENED/LENGTHENED BY                MONTHS.

                   APPROVED, BUT THE DEADLINES SET IN SECTION(S)
                        ______________ OF THE PLAN IS/ARE
                   SHORTENED/LENGTHENED BY                 MONTHS.

                   THIS MATTER IS SET FOR TRIAL BY ____________________ ON
                   ___________________________ . FINAL PRETRIAL
                   CONFERENCE IS SCHEDULED FOR
                                                          AT __________ .M.,
                   ROOM                  .

                    A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE
                    FOR _____________ AT _______ .M. COUNSEL SHALL
                    APPEAR:
                   _____________ IN PERSON IN ROOM ________ ; OR

                   _____________ BY TELEPHONE, WITH COUNSEL FOR
                   INITIATING THE CALL TO ALL OTHER PARTIES AND ADDING
                   THE COURT JUDGE AT ( ____ ) _________________ ; OR

                    _____________BY TELEPHONE, WITH COUNSEL CALLING THE
                   JUDGE'S STAFF AT ( ____ ) _____________________ .
                   DISPOSITIVE MOTIONS SHALL BE FILED BY


    Y               NON-EXPERT WITNESS AND LIABILITY DISCOVERY SHALL
                    BE COMPLETED BY October 25, 2021




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         Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
Order of the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-
1(f), to and including dismissal or default.

       APPROVED AND SO ORDERED.

                                             ^ Judge stamp upper left

        ^ Date upper left

             Date: 8/18/2020            ____________________________________
                                           Debra McVicker Lynch
                                           United States Magistrate Judge
                                           Southern District of Indiana




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